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Pa e |D #:56
AO 93 (Rev. 12¢"09) Search and Selzure Wan'ant (USAO CDCA Rev Oli'ZOl )

 

UNITED STATES DISTRICT CoURT 0 R \ 61 N A l_

for the
Central District of Califomia

In the Matter of the Search of

(Brie/Iy describe the property to be searched
or identify the person by name and address)

)

)

) Case No. 2:18~MJ-1834
Two |V|emorex DVDs obtained from the Henderson Po|ice )

)

)

Department on June 18, 2018, and currently maintained in

the custody of the ATF in Los Ange|es, Ca|ifornia, containing
data extracted from five digital devices

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

of the following person or property located in the Centra| District of Cali_fornia
(ia'enti_'/j) the person or describe the property to be searched and give its location)!
See Attachment A

The person or property to be searched, described above, is believed to conceal (idemijj) the person or describe the
property to be seized)!
See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. Such affidavit(s) or testimony are incorporated herein by reference

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date c_)_f it_s__issu_anc;e__
(not to exceed 14 days)
d in the daytime 6:00 a.m. to 10 p.m. ij at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing with the Clerk's Oche.

(name)

 

ij I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) ij for days (not ta exceed 30).

ij until, the facts justifying, the later specific date of

Date and time issued: ‘1~_-_' \:]*\@)_@,_\__2_5?¢{1_ @CLQL-

Judge 's signature

City and state: _|__os Ange|es, §Lifornia Hon. Roze||a A. O|iverl U.S. Magistrate Judge __
Printed name and title

 

AUSA: Veronica Draga|in (x0647)

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AO 93 (Rev. 12 09) Search and Selzure Warrant (Page .7)
' Return
Case No.: Date and time warrant executed: Copy of warrant and invento)y left with:
2;18-1\/|.1-1834 `7- - / '?- - />3 5500 PM _/i/A

 

 

 

Inventory made in the presence of :

§ch.t/\t_ Aet.:~rr (Lv tx w CA-r'A~J zA ed 0

lnventory of the property taken and name of any person(s) seized.'

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). lf` reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

 

l.) Digital data files (contacts.t"phone numbers, SMS:'MMS files, and photographs) extracted and copied from
SUBJECTS DEVlCES A, B, & D.

 

C.EL:|EE l.| .[|

 

1 declare under penalty of perjury that 1 am an ojicer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk’s Ojice.

Da,e_. _Z- /L/~ /a %w M/_`

E\'ecuting ojicer 's signature

SP\ZC¢¢\¢, A(,(;NT M»`S -\“t_»§t>M\°$O‘\]

Printed name and title

 

 

 

AUSA: Veronica Dragalin (x0647)

